     Case 2:14-cr-00103-GMN-VCF               Document 170         Filed 01/07/15    Page 1 of 4



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 2    AMBER M. CRAIG
      Assistant United States Attorney
 3    333 Las Vegas Blvd. South, Suite 5000
      Las Vegas, Nevada 89101
 4    PHONE: (702) 388-6336
      FAX: (702) 388-6698
 5
                                        UNITED STATES DISTRICT COURT
 6                                           DISTRICT OF NEVADA
                                                    -oOo-
 7
      UNITED STATES OF AMERICA,
 8                                                                  2:14-cr-103-GMN-VCF
                                 Plaintiff,
 9                                                                  STIPULATION TO CONTINUE
                      vs.                                           SENTENCING HEARING
10                                                                  (First Request)
      ASHARON BRAVO,
11
                                 Defendant.
12
                 IT IS HEREBY STIPULATED AND AGREED, by and between Daniel G. Bogden, United
13
      States Attorney, and Amber Craig, Assistant United States Attorney, counsel for the United States of
14
      America, and Todd Leventhal, Esq., counsel for Defendant Asharon Bravo, that the sentencing
15
      hearing, currently set for January 8, 2014, at the hour of 9:00 a.m., be vacated and continued for
16
      thirty days, or to a date to be set at the Court’s convenience.
17
                 This stipulation is entered into for the following reasons:
18
                 1. The parties need additional time to prepare and file sentencing documents.
19
                 2. The Defendant is in custody and does not object to the continuance.
20
                 3. For the reasons stated above, the ends of justice would best be served by a continuance of
21
      the sentencing hearing.
22
                 4. Additionally, denial of this request for continuance could result in a miscarriage of
23
      justice.
24


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     Case 2:14-cr-00103-GMN-VCF           Document 170          Filed 01/07/15     Page 2 of 4



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 2           5. The additional time requested by this Stipulation is excludable in computing the time

 3    within which the trial herein must commence pursuant to the Speedy Trial Act, Title 18, United

 4    States Code, Sections 3161(h)(3)(A) and (h)(7)(A), considering the factors under Title 18, United

 5    States Code, Sections 3161(h)(7)(B)(i) and (h)(7)(B)(iv).

 6           6. This is the first request for a continuance filed herein.

 7           DATED this 5th day of January, 2015.

 8                                                           DANIEL G. BOGDEN
                                                             United States Attorney
 9
       /s/ Todd Leventhal                                     /s/ Amber M. Craig
10    TODD LEVENTHAL, ESQ..                                  AMBER M. CRAIG
      Counsel for Defendant Bravo                            Assistant United States Attorney
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     Case 2:14-cr-00103-GMN-VCF               Document 170        Filed 01/07/15     Page 3 of 4



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 2                                      UNITED STATES DISTRICT COURT

 3                                             DISTRICT OF NEVADA
                                                      -oOo-
 4
      UNITED STATES OF AMERICA,
 5
                                 Plaintiff,                        2:14-cr-103-GMN-VCF
 6
                      vs.                                          FINDINGS OF FACT, CONCLUSIONS
 7                                                                 OF LAW, AND ORDER
      ASHARON BRAVO,
 8
                                Defendant.
 9                                              FINDINGS OF FACT

10               Based upon the pending Stipulation of counsel, and good cause appearing therefore, the

11    Court finds that:

12               1. The parties need additional time to prepare and file sentencing documents.

13               2. The Defendant is in custody and does not object to the continuance.

14               3. For the reasons stated above, the ends of justice would best be served by a continuance of

15    the response deadline.

16               4. Additionally, denial of this request for continuance could result in a miscarriage of

17    justice.

18               5. The additional time requested by this Stipulation is excludable in computing the time

19               6. within which the trial herein must commence pursuant to the Speedy Trial Act, Title 18,

20    United States Code, Sections 3161(h)(3)(A) and (h)(7)(A), considering the factors under Title 18,

21    United States Code, Sections 3161(h)(7)(B)(i) and (h)(7)(B)(iv).

22                                            CONCLUSIONS OF LAW

23               The ends of justice served by granting said continuance outweigh the best interest of the

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                                                            3
     Case 2:14-cr-00103-GMN-VCF            Document 170        Filed 01/07/15      Page 4 of 4



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 2    public and the Defendant in a speedy trial, since the failure to grant said continuance would be likely

 3    to result in a miscarriage of justice, would deny the parties herein sufficient time and the opportunity

 4    within which to be able to effectively and thoroughly prepare for trial, taking into account the

 5    exercise of due diligence.

 6           The continuance sought herein is excludable under the Speedy Trial Act, Title 18, United

 7    States Code, Sections 3161(h)(1)(A), (h)(7)(A), (h)(7)(B)(i), and (h)(7)(B)(iv).

 8                                                   ORDER

 9           IT IS THEREFORE ORDERED that the sentencing hearing, currently scheduled for January

10    8, 2014, at the hour of 9:00 a.m., be vacated and continued to the 5th
                                                                         ____day
                                                                              dayofofFebruary, 2015 at the
                                                                                      ________________,

11    the hour
      2015,     of 9:30
            at the hour a.m. in Courtroom 7D, before the Honorable Gloria M. Navarro, Chief Judge.
                        of ___________________.

12           DATEDthis
             DATED  this____
                          6th day
                              dayofof_______________,
                                      January, 2015. 2015.
13

14                                                           ________________________________
                                                             ________________________________
                                                             Gloria M.M.Navarro,
                                                             GLORIA      NAVARRO Chief Judge
15                                                           UnitedUNITED
                                                             CHIEF  States District
                                                                            STATES  Court
                                                                                      DISTRICT JUDGE

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